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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LARRY BOLOYAN,

       Plaintiff,

v.                                                     CASE NO. 8:10-cv-02629-JDW-TGW

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

      Defendant.
_____________________________________/

                                    NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, LARRY BOLOYAN, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

next 30 days.


       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.


DATED: January 11, 2011                                RESPECTFULLY SUBMITTED,

                                                       By: /s/ James Pacitti
                                                       James Pacitti (FBN: 119768)
                                                       Krohn & Moss, Ltd
                                                       10474 Santa Monica Blvd, Suite 401
                                                       Los Angeles, CA 90025
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                                                       jpacitti@consumerlawcenter.com
                                                       Attorney for Plaintiff




                                   NOTICE OF SETTLEMENT                                                1
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                               CERTIFICATE OF SERVICE

       I, James Pacitti, certify that a true and correct copy of the foregoing was served via
electronic mail upon the following:

Kevin Duffan, Esq.
Portfolio Recovery Associates
140 Corporate Boulevard
Norfolk, VA 23502
keduffan@portfoliorecovery.com
Attorney for Defendant

Dated: January 11, 2011                  By:/s/ James Pacitti
                                                 James Pacitti
                                                 Attorney for Plaintiff




                               NOTICE OF SETTLEMENT                                        2
